
705 S.E.2d 384 (2011)
The NORTH CAROLINA STATE BAR
v.
Creighton W. SOSSOMON.
No. 444P10-1.
Supreme Court of North Carolina.
January 5, 2011.
Creighton W. Sossomon, Pro Se &amp; Attorney, Highlands, for Sossomon, Creighton W.
David R. Johnson, Deputy Counsel, for the North Carolina State Bar.
The following order has been entered on the motion filed on the 10th of December 2010 by Defendant for Temporary Stay:
"Motion Allowed by order of the Court in conference this the 5th of January 2011."
MARTIN and JACKSON, JJ. recused.
